Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 1
                                                            Page
                                                              of 491 PageID
                                                                     of 49 #: 540

                                                                                 1
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


                                       :
                                       :
 SUZANNE GREENE,                       :
                                       :
       Plaintiff,                      :
                                       :
                                                   CIVIL ACTION NO.
 v.                                    :
                                                   1:19-cv-1338-AT
                                       :
 TYLER TECHNOLOGIES, INC.,             :
                                       :
                                       :
       Defendant.                      :
                                       :
                                    ORDER

      Plaintiff Suzanne Greene brings this suit against her former employer,

Defendant Tyler Technologies, Inc. (“Tyler”), alleging that Tyler misclassified her

as an exempt employee and failed to pay her legally required overtime pay under

the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 207 and 215(a)(2). Both

Parties move for summary judgment as to whether Ms. Greene, an

“implementation consultant,” was subject to the FLSA’s administrative exemption.

Tyler also moves for summary judgment that any alleged FLSA violation was not

willful, and Plaintiff moves for summary judgment that Tyler is a successor in

interest of ExecuTime Software, LLC (“ExecuTime”). For the reasons that follow,

Plaintiff’s Motion for Partial Summary Judgment [Doc. 57] is GRANTED, and

Defendant’s Motion for Summary Judgment [Doc. 56] is DENIED.
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 2
                                                            Page
                                                              of 492 PageID
                                                                     of 49 #: 541




       Background1

Defendant Tyler’s ExecuTime Software:

       Defendant Tyler is the largest company in the United States providing

software and technology services to public sector agencies like local and state

governments. (Plaintiff’s Statement of Material Facts (“SOMF”), Doc. 57-7 ¶¶ 1-2;

Defendant’s Response to Plaintiff’s SOMF, Doc. 67-1 ¶¶ 1-2.) In June 2016, Tyler

acquired the software company ExecuTime. Tyler has described ExecuTime as

follows:

       ExecuTime™ is a leading time and attendance solution that empowers
       employees via self-service functionalities and allows supervisors to
       closely manage overtime, job costing, and labor data through reduced
       expenses. ExecuTime time assists organizations with the most
       complex time and seamlessly integrates with payroll software
       solutions.

(Id. ¶¶ 5, 13.)2 The ExecuTime software that government customers purchase

generally consists of “time and attendance” and/ or “advanced scheduling”

modules. (Deposition of Suzanne Greene (“Greene Dep.”) p. 48:16-25; 49-5.) The

more basic time and attendance software is focused on clocking in, clocking out,

requesting time off, or checking a time card. (Id. p. 20:17-24; 25:8-10; see also,

Training Video, Doc. 57 Ex. 3 at 11:00.) Advance scheduling affords clients “more

robust scheduling capabilities” such as a “wheel offering” that allows supervisors




1 This statement does not represent actual findings of fact. In re Celotext Corp., 487 F.3d 1320,
1328 (11th Cir. 2007). Instead, the Court has provided the statement simply to place the Court’s
legal analysis in the context of this particular case or controversy.
2 After the acquisition, however, ExecuTime generally did the same thing that it did prior to the

acquisition. (Deposition of Hillary Pasch, Doc. 46 p. 49:12-14.)
                                               2
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 3
                                                            Page
                                                              of 493 PageID
                                                                     of 49 #: 542




to post open shifts on a wheel that employees can sign up for or a “trade board”

that allows employees to swap shifts themselves. (Deposition of Hillary Pasch

(“Pasch Dep.”), Doc. 46, p. 37:4-25.)

Process for Purchasing and Implementing ExecuTime:

      Typically, after a government customer decides to purchase ExecuTime

software, it consults with a Tyler sales representative, who creates a contract,

which is later reviewed by Tyler’s legal department. (Deposition of Hillary Pasch

(“Pasch Dep.”), Doc. 46 p. 35:11-16.) During this process, the client determines

what type of contract to purchase—daily, hourly, milestone, or paid in full, for

example. (Id. p. 36:9-13.) The customer also consults with the Tyler sales

representative to determine what additional features to include in the contract,

such as whether it wants the “advance scheduling” module (id. p. 39:3-8), and how

many physical timeclocks will be included (id. p. 44:2-11). Another purchase

decision the customer may make in conjunction with the sales representative is

whether to purchase a “mobile module” which allows user access though a general

web browser on a desktop or mobile phone. (Id. p. 44:15-20; 45:7-14.) At this

contracting stage, the customer and sales representative may also discuss “funded

development” which occurs when a customer wants to add something to the

software that does not yet exist, and the contract provides for the customer to fund

it. (Id. p. 61:4-22; 62:7-9.)

      After these decisions have been made and a contract has been signed, the

sales representative sends the contract to a team at ExecuTime that includes the

                                         3
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 4
                                                            Page
                                                              of 494 PageID
                                                                     of 49 #: 543




director of ExecuTime, a “manager of implementation,” and a different “manager

of implementation and support.” (Id. p. 40:6-24.) After this team of individuals

reviews the contract at issue, it assigns resources to the project, specifically a

project team consisting of a project manager and an implementation consultant.

(Id. p. 42:1-16.) The project manager is the supervisor of the implementation

consultant. (Id. p. 68:12-14.) When a project manager is assigned to a project, she

first reviews the contract to understand whether the contract is daily or hourly,

what hardware will be provided (such as how many physical timeclocks), where

the hardware will be installed, and other details provided by the contract. (Id. p.

60:14-25; 61:1-3.) The project manager then sends a welcome packet and schedules

a date with for the installation of the software done by a “deployment team.” (Id.

p. 62:17-25; 63:1-5.)

      In addition, the project manager drafts a “project plan” for the

implementation, which includes project objectives, as well as a checklist and

deadlines for user training and integration. (Greene Dep. p. 69:18-25; 70:1-11.)

This project plan and timeline also lays out dates and details for trainings,

including whether training will be in-person or remote and when the eventual “go

live” date will be. (Pasch Dep. p. 68:15-19.) “Going live” occurs after all of the user

training is completed and the customer has successfully completed “parallel

testing,” which involves using both ExecuTime and any previous time-tracking

method at the same time to ensure that the ExecuTime software was accurately

reflecting time and attendance. (Greene Dep. p. 62:1-8.) After the “go live” date,

                                          4
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 5
                                                            Page
                                                              of 495 PageID
                                                                     of 49 #: 544




the customer uses only ExecuTime for clocking in, clocking out, requesting time

off, and other functions. (Id. p. 62:9-11.)

       In addition to this project plan, the project manager also works with the

customer to complete a questionnaire and a solution design. (Greene Dep. p. 78:19-

21.) These two documents include information concerning the customer’s existing

time and attendance policies, such as whether the locality/ agency uses comp time.

(Id. 79:7-25.) These documents also indicate whether a customer will have weekly

or bi-weekly check-in calls with the implementation consultant. (Id. p. 117:12-18).

       After the project manager has completed these initial aspects of the

implementation process, there is a “handoff” to the implementation consultant.

(Greene Dep. p. 32:15-17.) This handoff typically takes the form of a phone call

where the project manager introduces the customer3 to the implementation

consultant and they all discuss next steps. (Id. p. 76:4-14.) After the “handoff,” the

project manager supervises the implementation consultant in her duties. (Pasch

Dep. p. 68:12-14.)

Ms. Greene’s Role as an Implementation Consultant:

       Plaintiff Suzanne Greene was employed by ExecuTime beginning in

February 2016 but became employed by Tyler when Tyler acquired ExecuTime in

June 2016. (Pl. SOMF; Def. Response to SOMF ¶¶ 4-5, 10.) During Ms. Greene’s

first six months with ExecuTime, before the acquisition, she was employed as a


3 As the customers are local and state governments, the representative dealing with the
implementation of ExecuTime software would typically be a local project manager, HR manager,
payroll supervisor, or a similar title. (Greene Dep. p. 76:15-25.)
                                              5
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 6
                                                            Page
                                                              of 496 PageID
                                                                     of 49 #: 545




“project manager,” working with the advanced scheduling software primarily used

in local police and fire departments. (Id. ¶¶ 5-6.) In this capacity, Ms. Greene’s

duties involved “building schedules,” which did not involve programming the

software but instead meant, in part, setting configurations so that the correct

schedules would populate in the software for the local departments. (Id. ¶¶ 7-8.)

       Shortly after ExecuTime was acquired by Tyler, Ms. Greene’s title was

changed to “implementation consultant.” (Id. ¶ 11.) Around this time, Ms. Greene

stopped working on the advance scheduling software and switched over to work on

the time and attendance side. (Greene Dep. p. 23:2-7.)4 Tyler’s job description for

the implementation consultant role states in relevant part:

       The Implementation Consultant is responsible for delivering high
       quality knowledge training to clients allowing them to use Tyler
       software products efficiently and effectively to achieve daily
       operations. The incumbent consults and partners with clients to gain
       a comprehensive understanding of workflow, business/ technical
       requirements and needs to ensure that the knowledge transfer
       addresses clients’ needs. The Consultant ensures that the transition to
       Tyler software is completed according to predetermined timelines and
       establishes a positive baseline for the new relationship between the
       client site and Tyler Technologies.

(Pl. SOMF ¶¶ 5, 13; Def. Resp. to SOMF ¶¶ 5, 13.) Broadly speaking, as an

implementation consultant, Ms. Greene’s job duties consisted of preparing for and

training the employees of Tyler’s government customers on how to use its

ExecuTime time and pay software. (Second Declaration of Suzanne Greene



4The Parties dispute the extent to which Plaintiff’s job duties changed with this new title and
dispute whether she still had scheduling responsibilities but agree that Ms. Greene began working
with a different software. (Pl. SOMF; Def. Response to SOMF ¶ 12.)
                                               6
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 7
                                                            Page
                                                              of 497 PageID
                                                                     of 49 #: 546




(“Second Greene Decl.”), Doc. 69-1 ¶ 2.)5 In this capacity, she reported to a

supervisor that had the title of project manager. (Declaration of Suzanne Greene

(“Greene Decl.”), Doc. 57-2 ¶ 5.)6 Ms. Greene typically communicated with her

project manager daily by phone or email, and often several times a day. (Second

Greene Decl. ¶ 13.) Ms. Greene explained that, during her employment, the

number of implementation consultants working with ExecuTime software at any

given time fluctuated but that there were never more than ten and at one point




5 In their reply brief (Doc. 71 at 3-4), Tyler argues that Ms. Greene’s Second Declaration is a “sham
affidavit” and asks the Court not to consider this testimony. Simply put, the Court finds
Defendant’s argument on this point entirely without merit. The Court has thoroughly reviewed
Ms. Greene’s deposition testimony and does not find it inconsistent with her Second Declaration.
Moreover, it is exasperating that Tyler advances this argument when, throughout its briefing, it
misrepresents and stretches Plaintiff’s testimony. On multiple instances, Defendant emphasizes
that Ms. Greene “testified that she recommended that a client’s ‘go live’ date be delayed because
the client’s employees had a difficult time grasping the technology,” that the “project manager
accepted Plaintiff’s recommendation,” and that therefore it was “undisputed that Plaintiff’s
recommendations shaped the course and trajectory of any given implementation assigned to her—
including whether the client could ‘go live’ with Tyler’s software.” (Def. Mot. at 6-7, 18.) But Ms.
Greene’s deposition testimony does not reflect that she made any recommendation or decisions
about whether to delay a “go live” date. Instead, she explains that on one occasion she “let [her
project manager] know” that the employees she was training were “seasoned” and having a harder
time using the software, and then that ultimately resulted in a delay of the go-live date and the
project manager’s determination that she should conduct on-site training. (Greene Dep. p. 73:11-
25; 73:6-10.) To characterize this as “undisputed evidence” that she made recommendations is
disingenuous. Similarly, Defendant mischaracterizes Plaintiff’s brief to suggest that she admitted
that Ms. Greene would occasionally extend training sessions by asking clients to work through
lunch or remain on-site longer than scheduled (Def. Resp. to Pl. Mot. at 6). But Plaintiff made no
such admission and indeed it was Tyler’s own corporate representative who stated generally that
an unspecified implementation consultant might decide to tell the client to stay longer or work
through lunch. (Pasch Dep., Doc. 46 at 73:1-15.) The Court has discovered other examples of this
stretching of the actual testimony, as well. These slanted and inaccurate representations are not
appreciated. The Court expects better.
6 This Tyler project manager role is different from Ms. Greene’s previous role as project manager

before Tyler acquired ExecuTime. Prior to Tyler’s acquisition, there was only one person (the
project manager) assisting with the implementation of the software for a government client.
(Deposition of Suzanne Greene (“Greene Dep.”), Doc. 56-4 p. 33:19-24.) However, after the
acquisition, Tyler began assigning at least two people to work on the project of implementing the
software with a particular client: a project manager and an implementation consultant.
(Defendants’ SOMF, Doc. 56-1 ¶ 4; Pl. Resp. to Def. SOMF, Doc. 69-2 ¶ 4.)
                                                 7
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 8
                                                            Page
                                                              of 498 PageID
                                                                     of 49 #: 547




there were fewer than four. (Greene Dep. 36:2-10.) As of October 2019, Tyler

employed eight implementation consultants working with ExecuTime software.

(Pasch Dep. p. 52:20.)

      As described above, any contract with a government customer would go

through the sales team, the legal team, the ExecuTime director team, and then a

project manager before the “handoff” to the implementation consultant, Ms.

Greene. Once Ms. Greene received the “handoff,” she would review the

questionnaire and solution design that the project manager put together with the

client (Greene Dep. p. 78:5-11) in order to do a “generic setup” of the ExecuTime

application (id. p. 80:7-12). Reviewing these documents allowed Ms. Greene to

determine which preferences she should turn on in the application: for example, if

a customer used comp time, she could go into the preferences and check a box to

allow them to actually use comp time. (Id. p. 79:10-19.) After reviewing these

materials and completing the generic setup, Ms. Greene would conduct the

trainings, beginning with a “power user training.” (Id. p. 80:15-18.) Power user

trainings are the trainings with the “higher-ups” like the local government’s project

manager, or the head of their payroll, possibly the HR manager. (Id. p. 83:21-25;

84:1-4.) This training was sometimes done on-site and sometimes remotely,

depending on what the client and project manager discussed. (Id. p. 80:19-22.)

      For most of Ms. Greene’s employment, when power training was done on-

site, it lasted for three full days from 8:00 a.m. to 5:00 p.m. (Greene Dep. p. 129:19-

22.) In contrast, the remote power training was only a single day for 3 to 3.5 hours;

                                          8
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 9
                                                            Page
                                                              of 499 PageID
                                                                     of 49 #: 548




however, near the end of Ms. Greene’s employment, it was spread out into 3

separate trainings of 3 hours each, for a total of 9 hours. (Id. p. 130:3-9.) During

these power user trainings, Ms. Greene would walk through the different aspects

of the software and its functionalities (id. p. 125:13-17) and the power users were

essentially watching Ms. Greene show them where everything is located. (Id. p.

127:8-12.) An example of Ms. Greene conducting a remote power user training is

attached to Plaintiff’s Motion for Partial Summary Judgment. (Training Video for

Hendersonville, TN Timeclock Training, Doc. 59, Ex. 3.) The video shows Plaintiff

sharing her screen with the power users, and showing them where certain

functions are located in the software related to system administrator settings7 and

also walking through the process for a fictional employee, “Joe Hourly,” clocking

in and out, and requesting time off for vacation or sick leave. (Id. at 10:30.)




7For example, in the training, Ms. Green shows the power users where they can click a button in
the software to “hide keypad entries” so that employees clocking in and out with their badge
numbers can either see the actual numbers or alternatively whether the numbers will show up on
the screen as stars, such as ****, for confidentiality purposes. (Id. at 0:50-1:12.)
                                              9
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 10
                                                            Page
                                                               of 49
                                                                  10 PageID
                                                                     of 49 #: 549




 During this training, the power users asked questions to clarify the software’s

 offerings and capabilities and where they could find certain functions. (See e.g., id.

 at. 15:23.)

       After the power user training was completed, Ms. Greene would conduct

 training with “super users” which were supervisors in the local government and

 “end users” which were the everyday local employees. (Greene Dep. p. 86:13-19.)

 Ms. Greene did not ask questions of the super users or end users during training.

 (Id. 125:20-25.) Sometimes, a city or department would split the in-person and

 remote training and do some training (say, for power users) in person but then

 conduct super user and end user training remotely. (Id. p. 81:2-6.) After the end

 user and super user trainings, the “parallel testing” occurs (id. p. 83:13-20), which,

 as described above, involves the end and super users utilizing both the previous

 time-tracking method and ExecuTime software at the same time to ensure that the

 ExecuTime software is accurate. (Greene Dep. p. 62:1-8.) After this testing is

 successfully completed, the customer “goes live.” After that point, Ms. Greene no

 longer has involvement, as the customer is passed to Tyler’s technical support

 team. (Greene Dep. p. 63:6-12.)

       Throughout the implementation process — after the handoff to Ms. Greene

 and before the customer is passed to the support team — Ms. Greene would ensure

 that the customer followed the checklist deadlines in the project plan that was

 created by the Tyler project manager. (Greene Dep. p. 94:15-19.) Ms. Greene did

 not set any deadlines but she had to be aware of them. (Id. p. 94:20-22.) Also

                                          10
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 11
                                                            Page
                                                               of 49
                                                                  11 PageID
                                                                     of 49 #: 550




 throughout, Ms. Greene would have weekly or bi-weekly calls with the client to go

 over progress. (Greene Dep. p. 59:20-21.) Sometimes during these calls, or at other

 times, Ms. Greene would engage in “troubleshooting” when the software was not

 functioning properly: for example, if overtime was not properly populating.

 (Greene Dep. p. 133:15-22.) For something like overtime failing to populate, Ms.

 Greene could fix the problem by adjusting the preferences “on the back end” (id. p.

 135:11-17), however, if the problem was technical, Ms. Greene would escalate the

 problem to her project manager and then it would go to the support team. (Id.

 p.135:3-11); (Second Greene Decl. ¶ 4.) Ms. Greene declares that she was

 reprimanded on the single occasion when she attempted to send a ticket to the

 support group directly without going through her project manager first. (Id. ¶ 5.)

       Typically, Ms. Greene dealt with multiple implementation projects at once,

 and managed her workload to ensure that the deadlines in multiple concurrent

 project plans were met. (Pl. SOMF ¶ 25; Def. Resp. to SOMF ¶ 25.) She handled

 between 5 and 20 projects at a time. (Greene Dep. p. 93:24.) She spent

 approximately 30-40 percent of her work time conducting ExecuTime training

 sessions with customers and 30-40 percent of her time preparing for ExecuTime

 training sessions. (Pl. SOMF ¶ 38; Def. Resp. to SOMF ¶ 38.) She spent about 20

 percent of her time on weekly or bi-weekly check-in calls with customers, (Second

 Greene Decl. ¶ 20), and helped with troubleshooting throughout (Greene Dep. p.

 93:5-13.). Ms. Greene performed her implementation consultant duties from

 either her home or at a client site. (Def. SOMF ¶ 9; Pl. Resp. to Def. SOMF ¶ 9.)

                                         11
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 12
                                                            Page
                                                               of 49
                                                                  12 PageID
                                                                     of 49 #: 551




        During her employment, Ms. Greene received a salary of between $45,000

 and $48,500 per year (Greene Dep. p. 30:23-25; 31:1-3; 40:17.). She was paid bi-

 weekly. (Def. SOMF ¶ 35; Pl. Resp. to Def. SOMF ¶ 35.) At no point in her

 employment did she supervise anyone or have the authority to hire or fire any other

 employee. (Second Greene Decl. ¶ 8.) Tyler classified Ms. Greene as exempt under

 the FLSA in part based on advice of outside legal counsel. (Def. SOMF ¶ 36; Pl.

 Resp. to Def. SOMF ¶ 36.) Tyler was sued in a putative collective action in 2008

 for   alleged   misclassification   and   overtime   violations   with   respect   to

 implementation consultants. (Pl. SOMF ¶ 48; Def. Resp. to Pl. SOMF ¶ 48) (citing

 Patty Beall et al. v. Tyler Technologies, Inc., and EDP Enterprises, Inc., 2:08-cv-

 422 TJW (E.D. Tex. 2008)). That case settled after full briefing on summary

 judgment but before the court ruled. Patty Beall et al., 2:08-cv-422 TJW, Doc. 215.

        Plaintiff ultimately resigned her employment with Tyler after taking leave in

 spring 2019. (Def. SOMF. ¶¶ 32-33; Pl. Resp. to Def. SOMF ¶¶ 32-33.) A source of

 some contention, Ms. Greene’s post-Tyler resume reads:




                                           12
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 13
                                                            Page
                                                               of 49
                                                                  13 PageID
                                                                     of 49 #: 552




 (Greene Dep., Ex. 2.) Plaintiff Greene filed this action on March 26, 2019 asserting

 a single claim for failure to pay overtime pursuant to 29 U.S.C. §§ 207 and

 215(a)(2), alleging that Tyler’s failure to pay her time-and-a-half for overtime

 hours worked was not done in good faith within the meaning of 29 U.S.C. § 260.

       Legal Standard

       Summary judgment may only be granted when “the pleadings, depositions,

 answers to interrogatories, and admissions on file, together with the affidavits, if

 any, show that there is no genuine issue as to any material fact and that the moving

 party is entitled to summary judgment as a matter of law.” FED. R. CIV. P. 56(c).

 The “purpose of summary judgment is to pierce the pleadings and to assess the

 proof in order to see whether there is a genuine need for trial.” Matsushita Elec.

 Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (quoting the

 Advisory Committee’s note to FED. R. CIV. P. 56). “[The] party seeking summary

 judgment always bears the initial responsibility of informing the district court of

 the basis for its motion, and identifying those portions of the [record before the

 court] which it believes demonstrate the absence of a genuine issue of material

 fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The burden then shifts to

 the non-movant to establish, by going beyond the pleadings, that there is indeed a

 genuine issue as to the material facts its case. Thompson v. Metro. Multi–List,

 Inc., 934 F.2d 1566, 1583 n.16 (11th Cir. 1991); Chanel, Inc. v. Italian Activewear

 of Fla., Inc., 931 F.2d 1472, 1477 (11th Cir. 1991). A dispute of material fact “is

 ‘genuine’ . . . [only] if the evidence is such that a reasonable jury could return a

                                         13
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 14
                                                            Page
                                                               of 49
                                                                  14 PageID
                                                                     of 49 #: 553




 verdict for the non-moving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

 248 (1986); see also Matsushita, 475 U.S. at 587.

       When ruling on the motion, the Court must view all the evidence in the

 record in the light most favorable to the non-moving party and resolve all factual

 disputes in the non-moving party’s favor. Welch v. Celotex Corp., 951 F.2d 1235,

 1237 (11th Cir. 1992); Ryder Int’l Corp. v. First Am. Nat’l Bank, 943 F.2d 1521,

 1523 (11th Cir. 1991). The Court must avoid weighing conflicting evidence. Liberty

 Lobby, 477 U.S. at 255; McKenzie v. Davenport–Harris Funeral Home, 834 F.2d

 930, 934 (11th Cir. 1987). Nevertheless, the non-moving party’s response to the

 motion for summary judgment must consist of more than conclusory allegations,

 and a mere “scintilla” of evidence will not suffice. Walker v. Darby, 911 F.2d 1573,

 1577 (11th Cir. 1990); Pepper v. Coates, 887 F.2d 1493, 1498 (11th Cir. 1989). But

 where a reasonable fact finder may “draw more than one inference from the facts,

 and that inference creates a genuine issue of material fact, then the court should

 refuse to grant summary judgment.” Barfield v. Brierton, 883 F.2d 923, 933–34

 (11th Cir. 1989). The essential question is “whether the evidence presents a

 sufficient disagreement to require submission to a jury or whether it is so one-sided

 that one party must prevail as a matter of law.” Anderson, 477 U.S. at 251–52.

       The standard of review for cross-motions for summary judgment does not

 differ from the standard applied when only one party files a motion, but simply

 requires a determination of whether either of the parties deserves judgment as a

 matter of law on the facts that are not disputed. Am. Bankers Ins. Group v. United

                                          14
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 15
                                                            Page
                                                               of 49
                                                                  15 PageID
                                                                     of 49 #: 554




 States, 408 F.3d 1328, 1331 (11th Cir. 2005). The Court must consider each motion

 on its own merits, resolving all reasonable inferences against the party whose

 motion is under consideration. Id. The Eleventh Circuit has explained that

 “[c]ross-motions for summary judgment will not, in themselves, warrant the court

 in granting summary judgment unless one of the parties is entitled to judgment as

 a matter of law on facts that are not genuinely disputed.” United States v. Oakley,

 744 F.2d 1553, 1555 (11th Cir. 1984). Cross-motions may, however, be probative of

 the absence of a factual dispute where they reflect general agreement by the parties

 as to the controlling legal theories and material facts. Id. at 1555-56.

        Discussion8

        The FLSA, which was enacted to protect the health, efficiency and welfare of

 workers in the United States, requires employers to pay overtime (time and a half)

 to employees who work more than forty hours per week. 29 U.S.C. § 207(a)(1).

 However, Section 213(a)(1) exempts from this requirement “any employee

 employed in a bona fide executive, administrative, or professional capacity.” 29

 U.S.C. § 213(a)(1). Keeping in mind the comprehensive remedial purposes of the

 FLSA,9 the Court interprets its provisions neither liberally nor narrowly, but


 8 Plaintiff moves for summary judgment on the issue of successor liability, arguing that Tyler is
 the successor in interest of ExecuTime Software, LLC under the federal standard’s flexible
 considerations. (Plaintiff’s Motion for Partial Summary Judgment, Doc. 57-6 at 12-14.) Defendant
 does not oppose this portion of Plaintiff’s Motion. For the reasons stated in Plaintiff’s Motion (id.
 at 12-14), the Court finds that Ms. Greene has established that Tyler is the successor of ExecuTime
 Software, LLC. Summary judgment is therefore GRANTED on this issue.
 9 The primary purpose of the FLSA is the protection of the nation’s employees from detrimental

 labor conditions and to provide a minimum subsistence wage. See Brooklyn Sav. Bank v. O’Neil,
 324 U.S. 697, 706-07 (1945), reh’g denied 325 U.S. 893; Nicholson v. World Bus. Network, Inc.,
 105 F.3d 1361, 1363 (11th Cir. 1997); see also 29 U.S.C. §§ 202(a), 206, 207, 212.
                                                  15
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 16
                                                            Page
                                                               of 49
                                                                  16 PageID
                                                                     of 49 #: 555




 instead gives its provisions a “fair interpretation.” Encino Motorcars, LLC v.

 Navarro, 138 S. Ct. 1134, 1142 (2018) (quoting Antonin Scalia & Bryan Garner,

 Reading Law, 363 (2012)). The employer bears the burden of proving its

 entitlement to an exemption. Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233,

 1269 (11th Cir. 2008); Evans v. McClain of Georgia, Inc., 131 F.3d 957, 965 (11th

 Cir. 1997). For Defendant Tyler to prevail, it must prove the applicability of the

 exemption by “clear and affirmative evidence.” Birdwell v. City of Gadsden, 970

 F.2d 802, 805 (11th Cir. 1992).

               The FLSA’s Administrative Exemption

        The Parties vigorously dispute whether Ms. Greene was an administrative

 employee exempt from the FLSA based on her position as an implementation

 consultant, tasked with training Tyler’s government customers on how to use the

 ExecuTime software.

        In order for the FLSA’s administrative exemption to apply, Tyler must prove

 that: (1) Ms. Greene was compensated on a salary basis at a rate of not less than

 $455 per week;10 (2) Ms. Greene’s primary duty consisted of the performance of

 office or non-manual work directly related to the management or general business

 operations of the employer or the employer’s customers; and (3) Ms. Greene’s

 primary duty includes the exercise of discretion and independent judgment with



 10Since Ms. Greene’s employment with Tyler, the DOL has increased the salary basis threshold to
 $684 per week (which works out to be $35,568 per year). Plaintiff does not dispute that she was
 paid a salary of $45,000 to $48,500 per year and therefore meets the first criteria of the
 administrative exemption.
                                               16
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 17
                                                            Page
                                                               of 49
                                                                  17 PageID
                                                                     of 49 #: 556




 respect to matters of significance. 29 C.F.R. § 541.200(a). Whether an employee

 falls under the administrative exemption is a highly fact-intensive inquiry that

 depends on the particular circumstances of each case. See 29 C.F.R. § 541.700 (a)

 (providing that the “[d]etermination of an employee’s primary duty must be based

 on all the facts in a particular case, with the major emphasis on the character of the

 employee’s job as a whole”); 29 C.F.R. § 541.202(b) (providing that “[t]he phrase

 ‘discretion and independent judgment’ must be applied in the light of all the facts

 involved in the particular employment situation in which the question arises”). As

 a job title is of little use for exemption purposes, courts look to the tests articulated

 by the Department of Labor’s (“DOL”) regulations under the FLSA in assessing the

 applicability of the FLSA’s statutory exemptions. Morgan, 551 F.3d at 1265-66.

       The regulations define the term “primary duty” as “the principal, main,

 major or most important duty that the employee performs.” 29 C.F.R. § 541.700(a).

 Factors to consider when determining the primary duty of an employee include (1)

 the relative importance of the exempt duties as compared with other types of

 duties; (2) the amount of time spent performing exempt work; (3) the employee’s

 relative freedom from direct supervision; and (4) the relationship between the

 employee’s salary and the wages paid to other employees for the kind of nonexempt

 work performed by the employee. Id. While the amount of time spent performing

 exempt work can be a useful guide in determining whether exempt work is the

 primary duty of an employee, it is not dispositive of the primary duty issue. See 29

 C.F.R. § 541.700(b) (noting that “employees who spend more than 50 percent of

                                            17
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 18
                                                            Page
                                                               of 49
                                                                  18 PageID
                                                                     of 49 #: 557




 their time performing exempt work will generally satisfy the primary duty

 requirement” and that “[e]mployees who do not spend more than 50 percent of

 their time performing exempt duties may nonetheless meet the primary duty

 requirement if the other factors support such a conclusion”).

       It is undisputed that Ms. Greene meets the salary requirement of the

 administrative exemption. However, the Parties dispute (1) whether Ms. Greene’s

 primary duties involved work directly related to the management or general

 business operations of Tyler or its customers, and (2) whether her primary duties

 involved the exercise of discretion and independent judgment with respect to

 matters of significance. Tyler must prove both by clear and affirmative evidence

 for the exemption to apply. Birdwell, 970 F.2d at 805.

       i.     Primary duty consisting of the performance of office or non-
              manual work directly related to the management or general
              business operations of the employer or the employer’s
              customers

       Tyler argues that, as an implementation consultant, Ms. Greene performed

 work directly related to both the “servicing of Tyler’s business: delivering software

 to the public sector” and “to the servicing of the business of Tyler’s clients.”

 (Defendant’s Motion for Summary Judgment (“Def. Mot.”), Doc. 59 at 13.) Ms.

 Greene argues that she did not perform work directly related to the management

 or general business operations of Tyler or its customers, as her work with respect

 to Tyler was production work, and as her work with Tyler’s government customers

 consisted of “presenting canned software presentations that she did not herself


                                          18
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 19
                                                            Page
                                                               of 49
                                                                  19 PageID
                                                                     of 49 #: 558




 create” and thus “[s]imply acting as a conduit for information about how

 ExecuTime software works does not constitute work directly related to the general

 business operations of Tyler’s local government clients.” (Resp. to Def. Mot., Doc.

 69 at 11 n. 3, 15-16.)

        Per DOL regulations, to meet the requirement that an employee perform

 work “directly related to the management or general business operations,” an

 employee “must perform work directly related to assisting with the running or

 servicing of the business, as distinguished, for example, from working on a

 manufacturing production line or selling a product in a retail or service

 establishment.” 29 C.F.R. § 541.201(a) (emphasis added). See also, Cotten v. HFS-

 USA, Inc., 620 F.Supp.2d 1342, 1347 (M.D. Fla. 2009) (“This prong is met if the

 employee engages in running the business itself or determining its overall course

 or policies, not just in the day-to-day carrying out of the business’ affairs.”) (citing

 Talbott v. Lakeview Ctr., Inc., 2008 WL 4525012, at *4 (N.D. Fla. Sept. 30, 2008)

 (quoting Bothell v. Phase Metrics, Inc., 299 F.3d 1120, 1125 (9th Cir. 2002))

 (internal citations omitted). The regulations provide examples of work that is

 “directly related to management or general business operations,” as follows:

        (b) Work directly related to management or general business
        operations includes, but is not limited to, work in functional areas
        such as tax; finance; accounting; budgeting; auditing; insurance;
        quality control; purchasing; procurement; advertising; marketing;
        research; safety and health; personnel management; human
        resources; employee benefits; labor relations; public relations,
        government relations; computer network, internet and database
        administration; legal and regulatory compliance; and similar
        activities.

                                           19
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 20
                                                            Page
                                                               of 49
                                                                  20 PageID
                                                                     of 49 #: 559




 29 C.F.R. § 541.201(b). The exemption “relates to employees whose work involves

 servicing the business itself—employees who can be described as staff rather than

 line employees.” U.S. DOL, Wage & Hour Div., Opinion Letter, 2010 WL 1822423,

 at *2 (Mar. 24, 2010) (internal citation omitted).

       Courts addressing the issue of whether an employee engages in work

 “directly related to management or general business operations” often find the

 “production versus administrative” dichotomy helpful. This concept is intended to

 “distinguish between work related to the goods and services which constitute the

 business’ marketplace offerings and work which contributes to running the

 business itself.” Id. at *3; Davis v. J.P. Morgan Chase & Co., 587 F.3d 529, 535 (2d

 Cir. 2009) (“[W]e have drawn an important distinction between employees

 directly producing the good or service that is the primary output of a business and

 employees performing general administrative work applicable to the running of

 any business.”) And while the administrative-production distinction may be an

 “imperfect analytical tool” in a service-oriented employment context, employees

 “can be considered ‘production’ employees in those instances where their job is to

 generate (i.e., ‘produce’) the very product or service that the employer’s business

 offers to the public.” Desmond v. PNGI Charles Town Gaming, L.L.C., 564 F.3d

 688, 694 (4th Cir. 2009) (citing Reich v. John Alden Life Ins. Co., 126 F.3d 1, 9 (1st

 Cir. 1997)).




                                          20
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 21
                                                            Page
                                                               of 49
                                                                  21 PageID
                                                                     of 49 #: 560




       Keeping this framework in mind, the Court first addresses Tyler’s passing

 argument that Ms. Greene performed work directly related to Tyler’s business

 operations. (Def. Mot. at 13.) In support, Tyler argues that Ms. Greene serviced

 Tyler’s business by “taking the software developed and licensed by other Tyler

 resources and deploying it for the clients assigned to her.” (Id.)

       Plaintiff first asks the Court to disregard this argument, as Defendant never

 “put Plaintiff on notice of the argument in discovery.” (Resp. to Def. Mot. at n. 3.)

 During discovery, Plaintiff asked Tyler to “[i]dentify each exemption … that you

 contend were applicable to Plaintiff … [and] Describe in detail the factual basis for

 such contentions …” (Interrogatory No. 1, Defendant’s Answers and Objections to

 Plaintiff’s First Continuing Interrogatories, Doc. 49-1 at 2.) In response, Tyler

 stated that Plaintiff was subject to the administrative exemption because “her

 primary duty involved the performance of office or non-manual work directly

 related to the general business operations of Tyler’s customers…” (Id.) (emphasis

 added). Accordingly, Ms. Greene argues that Tyler should not now be permitted to

 argue that Ms. Greene’s work was directly related to Tyler’s general business

 operations since it did not disclose that theory previously. (Pl. Reply in Support of

 Mot. for Partial Summary Judgment, Doc. 70 at 5) (citing Goodman-Gable-Gould

 Co. v. Tiara Condominium Ass’n, Inc., 595 F.3d 1203, 1210-13 (11th Cir. 2010)

 (holding that district court did not abuse its discretion in excluding evidence

 defendant sought to introduce on a misrepresentation theory that it did not

 mention in its answer or initial interrogatory responses)). In addition, Ms. Greene

                                          21
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 22
                                                            Page
                                                               of 49
                                                                  22 PageID
                                                                     of 49 #: 561




 argues that Tyler cannot show that her work was directly related to its management

 or general operations because, under the “administrative-production dichotomy,”

 her work was clearly production work not subject to the exemption. (Pl. Motion for

 Partial Summary Judgment (“Pl. Mot.”), Doc. 57 at 18 n. 3; Pl. Resp. to Def. Mot.

 at n. 3.)

         Tyler does not respond to Plaintiff’s argument in justification of its

 interrogatory response or to substantively argue that Plaintiff worked directly on

 Tyler’s general business operations. As a result, Tyler appears to have conceded

 this point. Jones v. Bank of America, N.A., 564 Fed.Appx. 432, 434 (11th Cir.

 2014). Yet, even absent any such concession, Tyler has not carried its burden of

 showing by “clear and affirmative evidence” that Ms. Greene’s work was directly

 related to Tyler’s management or general business operations. Birdwell, 970 F.2d

 at 805.

        Ms. Greene was undisputedly not part of Tyler’s management: she had no

 supervisory responsibility and could not hire or fire any other employees, and she

 reported to a supervisor that she checked in with daily or multiple times a day.

 (Second Greene Decl. ¶¶ 8, 13); See e.g. Desmond v. PNGI Charles Town Gaming,

 L.L.C., 564 F.3d 688, 694 (4th Cir. 2009) (holding that horse racing trainers did

 not perform work directly related to management where they had no supervisory

 responsibility and their positions were not part of the management). Moreover,

 under the production-administrative dichotomy described above, Ms. Greene’s

 work was clearly production rather than administrative. There is no evidence in

                                        22
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 23
                                                            Page
                                                               of 49
                                                                  23 PageID
                                                                     of 49 #: 562




 the record that Ms. Greene’s duties involved any aspect of running Tyler’s business,

 formulating policy, negotiating contracts, or the like. See 29 C.F.R. § 541.201(b);

 Cotten, 620 F.Supp.2d at 1348-49 (finding that plaintiff, a field supervisor for a

 home finishing company, did not perform work directly related to business

 operations where he was not involved in formulating business policies or

 procedures, did not negotiate or execute contracts, create work orders, or perform

 duties related to defendant’s financing, budgeting, accounting, auditing, research,

 employee benefits, taxes, insurance, advertising, or computer technology);

 Dalheim v. KDFW-TV, 918 F.2d 1220, 1231 (5th Cir. 1990) (affirming lower court’s

 finding that television news producers did not perform tasks related to the general

 business operations where they were not responsible for setting business policy,

 planning objectives of the news department, negotiating salary or benefits, or

 promoting newscasts). The service Ms. Greene provided to Tyler’s government

 customers — implementation and training on ExecuTime software — was,

 according to Tyler’s corporate representative, always provided to customers

 purchasing the ExecuTime software. (Pasch Dep. p. 56:4-18) (explaining that she

 was not aware of any customers who purchased ExecuTime software without the

 installation, implementation (which includes the training), and support). It is

 therefore clear that the ExecuTime training was an “output of the business.” Davis,

 587 F.3d at 535; Desmond, 564 F.3d at 694.

       Tyler’s contention that Ms. Greene’s work was “critical” to its own business

 operations because her failure to perform would “leave Tyler vulnerable” and at

                                         23
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 24
                                                            Page
                                                               of 49
                                                                  24 PageID
                                                                     of 49 #: 563




 reputational risk is an argument that could be applied to nearly any employee in

 any workplace and is legally without merit. Whether or not an employee is

 indispensable is insufficient to prove that her primary duties are administrative.

 See Desmond, 564 F.3d at 692 (citing Clark v. J.M. Benson Co., 789 F.2d 282, 287

 (4th Cir. 1986) (“The regulations emphasize the nature of the work, not its ultimate

 consequences. Thus, [the plaintiff’s] apparent indispensability does not obviate the

 need to prove independently that her primary duty is ‘directly related to

 management policies or general business operations.’”). In sum, Tyler does not

 seriously appear to rely on this argument, for good reason. The uncontroverted

 evidence shows that Ms. Greene did not perform work directly related to Tyler’s

 general business operations.

       Tyler next and principally argues that Ms. Greene’s work was directly related

 to servicing the general business operations of Tyler’s clients. (Def. Mot. at 13.)

 According to Tyler, because Ms. Greene “led the deployment of ExecuTime

 software based on the client’s policies and procedures, trained clients on the

 software, and helped troubleshoot issues,” she was an “adviser or consultant on the

 ExecuTime software for Tyler’s clients.” (Id. at 14.) Plaintiff responds that:

        Plaintiff Greene did not consult municipal governments about how to
       compensate their employees or how to track their time. Rather, she
       assisted them in teaching them how to [use] their new time and pay
       software and how to configure its functionalities—a fancy way of
       saying “changing the settings.” How the customers used the software
       was based on their own needs, which were determined long before
       Plaintiff ever became involved. Simply acting as a conduit for
       information about how ExecuTime software works does not even


                                          24
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 25
                                                            Page
                                                               of 49
                                                                  25 PageID
                                                                     of 49 #: 564




       arguably constitute the “general business operations” of Tyler’s local
       government clients.

 (Resp. to Def. Mot. at 19.) On the issue of whether an employee is subject to the

 administrative exemption based on work related to their employer’s customers,

 the DOL regulations provide:

       (c) An employee may qualify for the administrative exemption if the
       employee’s primary duty is the performance of work directly related
       to the management or general business operations of the employer’s
       customers. Thus, for example, employees acting as advisers or
       consultants to their employer’s clients or customers (as tax experts or
       financial consults, for example) may be exempt.

 29 C.F.R. § 541.201(c). Courts interpreting this subsection have explained that

 “while the regulations provide that ‘servicing’ a business may be administrative, §

 541.205(b), ‘advising the management’ as used in [subsection (c)] is directed at

 advice on matters that involve policy determinations, i.e., how a business should

 be run or run more efficiently, not merely providing information in the course of

 the customer’s daily business operation.” Bratt v. County of Los Angeles, 912 F.2d

 1066, 1070 (9th Cir. 1990) (emphasis added) (finding that probation officers were

 nonexempt because the services they provided to courts were not related to court

 policy or overall operational management, contrasting with financial advisers who

 advise customers on how to increase financial productivity or reduce risk); see also

 Boyd v. Bank of America Corp., 109 F.Supp.3d 1273, 1288 (C.D. Cal. 2015)

 (holding that real estate appraisers were nonexempt as a matter of law and did not

 “advise” or consult” with defendant’s customers, mortgage lenders, within the

 meaning of 29 C.F.R. § 541.201(c) ,where they did not offer a service meant to guide

                                         25
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 26
                                                            Page
                                                               of 49
                                                                  26 PageID
                                                                     of 49 #: 565




 the internal policies of the customer, contrasting with tax or financial consultants);

 Watts v. Silverton Mortgage Specialists, Inc., 378 F.Supp.3d 1164, 1174 (N.D. Ga.

 2019) (Jones, J.) (finding that plaintiff, a mortgage underwriter, did not function

 as advisor or servicer to bank’s customers where plaintiff “analyzed loan

 applications utilizing pre-determined guidelines for risk provided to her by her

 employer” and did not market defendant’s loans); Gallegos v. Equity Title Co. of

 America, Inc., 484 F.Supp.2d 589, 595-596 (W.D. Tex. 2007) (determining that

 duties of escrow officer, who performed closing services for defendant’s customers,

 did not relate to the management or business operations of defendant or its

 customers, as it was production work that merely applied existing policies and

 procedures on a case-by-case (customer-by-customer) basis).

         Here, Tyler’s customers are not other businesses with private financial

 incentives but local and state governments. The Wage & Hour Division of the DOL

 recently explained that there is “scarce authority … regarding what constitutes the

 general business operations of a [government].” U.S. DOL, Wage & Hour Div.,

 Opinion Letter, FLSA 2020-9 at 3-4 (June 25, 2020)11 (citing O’Neill v. City of Palo

 Alto, 2007 WL 9733770, at *5 (N.D. Cal. May 4, 2007)). However, it is often more

 useful to ask whether the job duties involve, “on the one hand, the day-to-day

 carrying out of the government’s functions or, on the other, running the

 government (or a component of the government) itself or determining its overall



 11 See, https://www.dol.gov/sites/dolgov/files/WHD/opinion-letters/FLSA/2020_06_25_09_FLSA.pdf
 (last accessed Mar. 11, 2021).

                                              26
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 27
                                                            Page
                                                               of 49
                                                                  27 PageID
                                                                     of 49 #: 566




 course and policies.” Id. at 4. (emphasis added) (citing Dalheim, 918 F.2d at 1230-

 31) (explaining that plaintiffs who did not set business policy or plan the long- or

 short-term objectives of the company were nonexempt).

       Accordingly, regardless of the details of the general business operations of

 Tyler’s particular government customers, a reasonable jury could not find that Ms.

 Greene primary duties involved advising those government customers on matters

 involving running a component of the government or determining the overall

 course and policies of the government. Id.; Bratt, 912 F.2d at 1070 (explaining that

 subsection (c) is directed at “advice on matters that involve policy determinations,

 i.e., how a business should be run or run more efficiently, not merely providing

 information in the course of the customer’s daily business operation”). Indeed,

 there is no record evidence that Ms. Greene advised any government customer, for

 example, how to run their personnel department, what benefits to offer (comp

 time, overtime, vacation time), or even what software to use to administer their

 time and attendance policies. (Second Greene Decl. ¶ 6.) As characterized by Tyler,

 Ms. Greene’s role was entirely distinct from that of a tax adviser or financial

 consultant who may direct a customer on matters of policy determination about

 how to better or more efficiently run their business operation or how to comply

 with particular regulations (an example Defendant cites in its reply at 7).

       The DOL regulations identify the following areas as connected to general

 business operations of a business: tax; finance; accounting; budgeting; auditing;

 insurance; quality control; purchasing; procurement; advertising; marketing;

                                          27
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 28
                                                            Page
                                                               of 49
                                                                  28 PageID
                                                                     of 49 #: 567




 research; safety and health; personnel management; human resources; employee

 benefits; labor relations; public relations, government relations; computer

 network, internet and database administration; legal and regulatory compliance;

 and similar activities. 29 C.F.R. § 541.201(b). Of these categories, the only ones

 Tyler even suggests are implicated here are “quality control” and “database

 administration.” (Resp. to Pl. Mot. at 9.) But Defendant does not provide any

 explanation or theory, let alone record evidence, to show how or when Plaintiff

 advised any government customer in either capacity. In contrast, Plaintiff argues

 (Pl. Reply at 3), and the uncontroverted record supports, that Ms. Greene did not

 advise government customers how to set up, modify, test or secure their

 government databases; how to program, design, or modify software; what software

 or functionalities to buy; or how to update or reconfigure the software to function

 more efficiently. The decision of what software to buy was made in collaboration

 with a Tyler sales representative and a product owner. (Pasch Dep. p. 34:13-18.)

 After a customer had decided to purchase ExecuTime software, Ms. Greene did not

 advise it on what ExecuTime features or functionalities to purchase – such as

 whether to have advanced scheduling or a milestone contract, or how many

 timeclocks to have – as those decisions too were made prior to her involvement

 and in conjunction with a Tyler sales representative. (Second Greene Decl. ¶¶ 8, 9,

 16, 23; Pasch Dep. p. 39:3-8; 44:12-14; 58:1-5; 60:11-13.)

       The Parties agree that the majority of Plaintiff’s work time was spent

 conducting trainings and preparing to conduct trainings. (Pl. SOMF ¶ 38; Def.

                                         28
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 29
                                                            Page
                                                               of 49
                                                                  29 PageID
                                                                     of 49 #: 568




 Resp. to SOMF ¶ 38.) With respect to her time actually conducting the trainings

 with power users, super users, and end users, the Wage & Hour Division has

 instructed that providing routine education by way of “delivering educational

 lectures, materials, and presentations would be day-to-day work and would be

 nonexempt.” See, supra, U.S. DOL, Wage & Hour Div., Opinion Letter, FLSA

 2020-9 at 4 (June 25, 2020)) (also noting that furnishing presentations or “acting

 as a courier or messenger” of information is likely exempt). See also, Kohl v.

 Woodlands Fire Dep’t, 440 F. Supp. 2d 626, 640 (S.D. Tex. 2006) (“To the extent

 that [plaintiff] taught prepackaged classes, delivered preset lectures, or presented

 preestablished programs, she was not engaged in administrative work.”); Ale v.

 Tenn. Valley Auth., 269 F.3d 680, 686, 690 (6th Cir. 2001) (affirming decision that

 training officer, who taught employees based on inherited lesson plans that he

 adjusted to incorporate new administrative orders issued by the Nuclear

 Regulatory Commission was nonexempt). And while Tyler makes much of

 Plaintiff’s time spent reviewing client information, such as the questionnaire, and

 familiarizing herself with their policies, such review time certainly doesn’t meet the

 standard of advising a government customer on its general business operations as

 contemplated by 29 C.F.R. § 541.201(c).

       Tyler’s attempt to dress up Ms. Greene’s duties is no substitute for evidence

 of the actual duties she performed. In this vein, Tyler’s reliance on Ms. Greene’s

 title of “implementation consultant” is misplaced. “A job title alone is insufficient

 to establish the exempt status of an employee. The exempt or nonexempt status of

                                          29
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 30
                                                            Page
                                                               of 49
                                                                  30 PageID
                                                                     of 49 #: 569




 any particular employee must be determined on the basis of whether the

 employee's salary and duties meet the requirements of the regulations in this part.”

 29 C.F.R. § 541.2. See also, Trammell v. Amdocs, Inc., No. 2:15-CV-01473-RDP,

 2016 WL 3618367, at *4 (N.D. Ala. July 6, 2016) (“[R]egardless of job title, a

 plaintiff   must   have actually performed    one    of   the   exempt   executive,

 administrative, or professional duties customarily and regularly.”) (emphasis

 added) (citing 29 C.F.R. § 541.201(a)); Chin Hui Hood v. JeJe Enterprises, Inc.,

 207 F.Supp.3d 1363, 1371 (N.D. Ga. 2016); Barreto v. Davie Marketplace, LLC,

 331 F. App’x 672, 674 (11th Cir. 2009) (explaining that courts should look beyond

 an employee’s title to the specific duties performed). Of course, were job titles

 sufficient to prove an exemption, employers would be able to escape liability

 simply by casting an employee’s job title in a manner befitting a particular

 exemption.

        Similarly, Tyler’s heavy-handed reliance on Ms. Greene’s post-employment

 resume, which is framed at a high level of generality, first is not evidence of the

 actual duties she performed as an implementation consultant, as numerous courts

 have explained. Ale, 269 F.3d 680 at 689–90 (6th Cir. 2001) (“When titles and

 vague job descriptions are not born out by more specific evidence they are not

 entitled to any special weight, in fact, this type of evidence has been rejected.”);

 Schaefer v. Indiana Michigan Power Co., 358 F.3d 394, 400–01 (6th Cir. 2004)

 (“[W]e have recognized that resumes may not provide the most accurate picture of

 an employee's job because resumes are typically designed to enhance the

                                         30
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 31
                                                            Page
                                                               of 49
                                                                  31 PageID
                                                                     of 49 #: 570




 employee’s duties and responsibilities in order to obtain a job. ”) (internal citations

 omitted); Morrison v. Cty. of Fairfax, VA, 826 F.3d 758, 764 (4th Cir. 2016)

 (explaining that generalized job descriptions or employee resumes “do not add

 appreciably to or call into question the more specific evidentiary submissions of

 the parties”). Second, the duties as described in Ms. Greene’s resume do not

 indicate that her work was in any way directly related to the general business

 operations of Tyler’s customers. “Directing project teams to meet project

 objectives,” (which were in fact undisputedly pre-determined, see Greene Dep. p.

 102:10-17), “setting clear expectations for project teams,” or “holding regular

 meetings with clients to ensure that milestones are met” in no way establishes that

 Ms. Greene guided local policy or procedure, or ran/ serviced the government

 customer’s operations, or advised in any capacity listed in 29 C.F.R.§ 541.201(b).

       Defendant’s argument that Ms. Greene’s work of “troubleshooting” for the

 government customers renders her exempt is not supported by the DOL

 regulations, the legal authority, or the facts. The Wage & Hour Division has

 explained that IT support work, such as work involving “installing, configuring,

 testing, and troubleshooting computer applications, networks and hardware” does

 not qualify for the administrative exemption under Section 13(a)(1) of the FLSA.

 See, U.S. DOL, Wage & Hour Div., Opinion Letter, FLSA 2006-42 (Oct. 26, 2006)

 at 5 (citing Martin v. Ind. Mich. Power Co., 381 F.3d 574, 581-84 (6th Cir. 2004)

 (finding that IT support specialist responsible for installing and upgrading

 hardware and software, and testing and troubleshooting equipment was not

                                           31
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 32
                                                            Page
                                                               of 49
                                                                  32 PageID
                                                                     of 49 #: 571




 exempt because work was not directly related to management policies or general

 business operations)). See also, Lee v. MegaMart, Inc., 223 F. Supp.3d 1292, 1300

 (N.D. Ga. 2016) (May, J.) (explaining that IT workers “who primarily troubleshoot

 and repair computer systems are not exempt while those who have a more in-depth

 role in creating and managing computer systems are exempt”). Here, not only did

 Plaintiff spend a minimal amount of time “troubleshooting” but she undisputedly

 did not have a role creating or managing computer systems, did not repair

 computer systems, and did not do work involving any programming expertise. In

 fact, she explicitly stated that she was not able to do such technical work:

       Q: But in terms of what your responsibility was to, quote, unquote,
       build the schedule, are you actually programming the software or
       what is it that you’re doing?

       A: No, I’m not very technical, so when it comes to, like, programming
       and things in depth on the technical side, I did not handle any of that.

 (Greene Dep. p. 26:11-18.) Instead, Ms. Greene was able to fix straightforward

 problems related to the software’s functionality, like overtime not populating, by

 something as “simple” as fixing the preferences on the back end. (Greene Dep. p.

 135:11-17.) If a problem was at all technical, a ticket would be sent to the support

 team to handle it. (Second Greene Decl. ¶ 4.)

       Also misplaced is Defendant’s reliance on Plaintiff’s alleged indispensable

 role in allowing local government customers to schedule and pay their employees.

 (Def. Mot. at 13-14.) See Desmond, 564 F.3d at 692, supra (explaining that it is the

 nature of the work, not the ultimate consequences that should be evaluated, and


                                          32
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 33
                                                            Page
                                                               of 49
                                                                  33 PageID
                                                                     of 49 #: 572




 noting that secretaries, for example, can be essential but are typically nonexempt

 employees). By Defendant’s logic, nearly any employee would be rendered exempt

 as indispensable in some manner or other, for example, a store clerk indispensable

 because a customer could not make a purchase without their involvement.

       Tyler’s cited cases in support all involve employees directly engaged in

 advising the policies and operations of their employer or its relevant customers

 and are therefore inapplicable to the facts of this case. In Verkuilen v. MediaBank,

 LLC, 646 F.3d 979 (7th Cir. 2011), the plaintiff was an account manager for a media

 company who worked with clients (companies) to determine their specific

 advertising needs and customize the advertising products accordingly, as follows:

       Identifying customers’ needs, translating them into specifications to
       be implemented by the developers, assisting the customers in
       implementing the solutions—in the words of [the employer’s] chief
       operating officer, account managers are expected to ‘go out,
       understand [the customers’ requirements], build specifications,
       understand the competency level of our customers. Then they will
       build functional and technical specifications and turn it
       over to … developers who will then build the software, …
       checking in with the account manager, making sure what they are
       building is ultimately what the customer wanted.

 Id. at 982. (emphasis added) (also explaining the account manager helped the

 software engineers determine how to adapt its software and dealt with the

 complexity and variance as to each client). Here, there is no evidence that Ms.

 Greene built any specifications or customizations or advised in any capacity related

 to the development of new software. She did not interact with anyone who

 engineered software. All of the decisions about what functionalities a local


                                         33
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 34
                                                            Page
                                                               of 49
                                                                  34 PageID
                                                                     of 49 #: 573




 government preferred were made prior to Ms. Greene’s involvement and she was

 not in a powerful intermediary role, as described in Verkuilen.

        In Brooks v. Healthcare-Iq, Inc., 2019 WL 497693 (M.D. Fla. Feb. 8, 2019),

 the plaintiff, who was primarily a training and development manager, performed

 a “complete redesign” of the complex medical software training curriculum and

 also “managed the curriculum design.” He testified that he “completely redesigned

 the approach that was taken in the curriculum,” and either designed teaching

 modules himself or gave instructions to his colleague/ assistant to do so, without

 any approval from higher-ups. Id. at 2. (also noting that the plaintiff designed

 graphs and illustrations or would go to the marketing department and give them

 ideas about what he wanted certain marketing materials to look like). Here, Ms.

 Greene’s duties did not involve the design or redesign of any software, she certainly

 did not have anyone at a lower level or in another department design modules or

 training materials at her request, and she did not approve any other employee’s

 expense reports, as in Brooks.12

        For the reasons above, Tyler has not met its burden of demonstrating that

 Ms. Greene’s primary duties were directly related to the management or general

 business operations of Tyler or of its local government customers under the




 12 Carbaugh v. Unisoft Intern., Inc., 2011 WL 5553724 (S.D. Tex. Nov. 15, 2011) is also highly

 distinguishable. In that case, the plaintiff was responsible for installing, adapting, and tailoring
 software to suit clients’ needs, working with programmers and coders to supply them with
 information to produce software suited to the clients’ needs, and himself developed and tailored
 training modules. Id. at *22. Ms. Greene did not install or adapt any ExecuTime software and she
 had no engagement with programmers or coders to produce new software capabilities.
                                                 34
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 35
                                                            Page
                                                               of 49
                                                                  35 PageID
                                                                     of 49 #: 574




 applicable legal standard and as contemplated by 29 C.F.R. § 541.200. A

 reasonable jury could not find otherwise. In contrast, Plaintiff has met her burden

 in establishing that the exemption is not applicable under the present facts as

 construed in the light most favorable to Tyler. Therefore, the Court finds that Ms.

 Greene did not fall within the administrative exemption and summary judgment

 in favor of Plaintiff is appropriate. For good measure, however, the Court addresses

 the third prong of the administrative exemption test below.

       ii.    Primary duties consisting of the exercise of discretion and
              independent judgment with respect to matters of
              significance

       Tyler argues that Ms. Greene exercised discretion and independent

 judgment because she made recommendations to and worked directly with the

 government customer with little supervision. (Def. Mot. at 18.) Further, when

 troubleshooting, she had to “evaluate issues presented, escalate issues as

 appropriate and ensure they were resolved to the client’s satisfaction.” (Id.) On the

 flipside, Ms. Greene argues that her duties of ExecuTime instruction and

 troubleshooting existed within “constrained and pre-established parameters that

 did not permit any real discretion with respect to matters of significance, much less

 as a primary duty,” and that no factfinder could conclude otherwise based on the

 applicable regulations and law. (Pl. Mot. at 25.)

       In order to qualify as an exempt administrative employee, the DOL’s

 regulations provide:



                                          35
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 36
                                                            Page
                                                               of 49
                                                                  36 PageID
                                                                     of 49 #: 575




       [i]n general, the exercise of discretion and independent judgment
       involves the comparison and the evaluations of possible courses of
       conduct, and acting or making a decision after the various possibilities
       have been considered. The term “matters of significance” refers to the
       level of importance or consequence of the work performed.

 29 C.F.R. § 541.202(a). Factors to consider in determining whether the “discretion

 and independent judgment” criteria is satisfied include, but are not limited to: (1)

 whether the employee has authority to formulate, affect, interpret, or implement

 management policies or operating practices; (2) whether the employee carries out

 major assignments in conducting the operations of the business; (3) whether the

 employee performs work that affects business operations to a substantial degree,

 even if the employee’s assignments are related to operation of a particular segment

 of the business; (4) whether the employee has authority to commit the employer

 in matters that have significant financial impact; (5) whether the employee has

 authority to waive or deviate from established policies and procedures without

 prior approval; (6) whether the employee has authority to negotiate and bind the

 company on significant matters; (7) whether the employee provides consultation

 or expert advice to management; (8) whether the employee is involved in planning

 long- or short-term business objectives; (9) whether the employee investigates and

 resolves matters of significance on behalf of management; and (10) whether the

 employee represents the company in handling complaints, arbitrating disputes or

 resolving grievances. Id. at § 541.202(b).

       Although the “exercise of discretion and independent judgment implies that

 the employee has authority to make an independent choice, free from immediate

                                         36
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 37
                                                            Page
                                                               of 49
                                                                  37 PageID
                                                                     of 49 #: 576




 direction or supervision . . . employees can exercise discretion and independent

 judgment even if their decisions or recommendations are reviewed at a higher

 level. Thus, the term ‘discretion and independent judgment’ does not require that

 the decisions made by an employee have a finality that goes with unlimited

 authority and a complete absence of review . . . The decisions made as a result of

 the exercise of discretion and independent judgment may consist of

 recommendations for action rather than the actual taking of action.” 29 C.F.R. §

 541.202(c). The regulations further provide that the “exercise of discretion and

 independent judgment must be more than the use of skill in applying well-

 established techniques, procedures or specific standards described in manuals or

 other sources.” Id. at § 541.202(e) (emphasis added). It “does not include clerical

 or secretarial work, recording or tabulating data, or performing other mechanical,

 repetitive, recurrent or routine work.” Id. Finally, “[a]n employee does not exercise

 discretion and judgment in matters of significance merely because the employer

 will experience financial losses if the employee fails to properly perform his or her

 job.” 29 C.F.R. § 541.202(f).

       The Court turns first to Plaintiff’s “troubleshooting” work as the law is

 abundantly clear on this front. The Wage & Hour Division has clearly articulated

 that IT support work, including troubleshooting computer applications, networks,

 and hardware and ensuring that computer equipment or a computer application is

 “working properly according to the specifications designed by others” are examples

 of work that “lacks the requisite exercise of discretion and independent judgment

                                          37
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 38
                                                            Page
                                                               of 49
                                                                  38 PageID
                                                                     of 49 #: 577




 within the meaning of the administrative exemption.” See supra, U.S. DOL, Wage

 & Hour Div., Opinion Letter, 2006-42 (Oct. 26, 2006) (further explaining that such

 work “does not involve formulating management policies or operating practices,

 committing the employer in matters that have significant financial impact,

 negotiating and binding the company of significant matters, planning business

 objectives, or other indicators of exercising discretion and independent judgment

 with respect to matters of significance discussed in 29 C.F.R. § 541.202(b)); Turner

 v. Human Genome Scis., Inc., 292 F.Supp. 2d 738, 745, 747 (D. Md. 2003) (finding

 that although employees responsible for troubleshooting and correcting software

 problems and network connectivity issues used knowledge and skill to solve

 computer problems, their primary duties did not involve discretion or independent

 judgment); Burke v. County of Monroe, 225 F. Supp. 2d 306, 320 (W.D.N.Y. 2002)

 (noting that operating computer networks involved “routine duties without the

 requirement of discretion”). Moreover, the facts here show that Ms. Greene only

 spent a “small percentage” of time “troubleshooting.” (Greene Dep. p. 93:5-13.)

       Likewise unavailing is Tyler’s contention that Ms. Greene exercised

 discretion in determining whether to escalate a troubleshooting question to the

 support team. (Def. Mot. at 18). Not only does the record indicate that Ms. Greene

 had to go through her supervisor before a ticket could be sent to the support team

 (Greene Dep. p. 136:3-11; Second Greene Decl. ¶¶ 4-5) but moreover, an employee

 does not exercise discretion by following prescribed procedures. Gallegos, 484

 F.Supp.2d at 597 (holding that escrow officer did not exercise independent

                                         38
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 39
                                                            Page
                                                               of 49
                                                                  39 PageID
                                                                     of 49 #: 578




 judgment where his “decisions,” such as whether to procced with a closing if only

 one party appeared, were simply a matter of following the prescribed procedures

 and where he had to contact a borrower or broker if there was a problem with the

 lien).

          Next, Tyler’s argument that Plaintiff exercised discretion because she

 coordinated and prioritized her own schedule also does not meet the requirements

 of 29 C.F.R. § 541.202(a). It is insufficient to show discretion on matters of

 significance only through evidence that an employee makes decisions regarding

 “when and where to do different tasks, as well as the manner in which to perform

 them.” Clark v. J.M. Benson, Co., 789 F.2d 282, 287-88 (4th Cir. 1986) (explaining

 that the district court erred in finding that bookkeeper exercised discretion in

 deciding when and where to do different tasks and the order and manner in which

 to perform them); see also, U.S. DOL, Wage & Hour Div., Opinion Letter, 2005 WL

 3308592 (Aug. 19, 2005) (“[P]lanning one’s own workload, such as prioritizing the

 pursuit of particular leads … determining which potential witnesses to see and

 which documents to review, and making similar decisions that promote effective

 and efficient use of that individual‘s own work time … do not constitute exercising

 discretion and independent judgment with respect to matters of significance.”).

 Such decisions assuredly do not meet the standard for “matters of significance”

 which generally includes “responsibilities dealing with matters of broad scope and

 significant detail that have a profound effect on the employer’s business,” such as:

 “matters that have significant financial impact, negotiating and binding the

                                         39
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 40
                                                            Page
                                                               of 49
                                                                  40 PageID
                                                                     of 49 #: 579




 company on significant matters; and planning long- or short-term business

 objectives.” Allemani v. Pratt (Corrugated Logistics) LLC, No. 1:12-cv-100-RWS,

 2014 U.S. Dist. LEXIS 77715, at *30 (N.D. Ga. June 6, 2014) (citing Alvarez v. Key

 Transp. Serv. Corp., 541 F. Supp.2d 1308, 1313-14 (S.D. Fla. 2008)).

         Tyler next argues that Ms. Greene exercised discretion and independent

 judgment because, for each project she worked on, she “assessed client protocols

 and procedures, managed competing client deadlines and priorities, [and] created

 custom training agendas based on client feedback.” (Def. Resp. to Pl. Mot. at 14.)

 Not only is this characterization devoid of any specifics and unsupported by record

 evidence13, but it is not indicative of any duties emblematic of discretion and

 independent judgment in matters of significance: that is, actions that “involve[]

 the comparison and the evaluations of possible courses of conduct, and acting or

 making a decision after the various possibilities have been considered.” 29 C.F.R.

 § 541.202(a) (emphasis added).

         Tyler admits that Ms. Greene herself had no involvement in making

 decisions to set deadlines for the projects she was involved in. (Def. Resp. to Pl.

 SOMF ¶ 24.) As noted supra at n. 5, Tyler’s suggestion that Ms. Greene herself

 made decisions to delay “go live” dates finds no support in the record and

 nevertheless is not a matter of significance. (Second Greene Decl. ¶¶ 13, 15);




 13 Defendant does not cite to the record in support. However, Ms. Greene testified in connection with a

 particular client that she “did not create the actual agenda,” that it was a template set up by her supervisor
 (Greene Dep. p. 139:15-20), and that project managers “built a template within the project plan” (id. p.
 111:17-19).

                                                      40
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 41
                                                            Page
                                                               of 49
                                                                  41 PageID
                                                                     of 49 #: 580




 (Greene Dep. p. 181:24-25; 182:1-3) (explaining that the project manager “handled

 the Go-Live date. I would just tell them the – you know, essentially the client is

 requesting to put on hold, and they would take it from there.”)

        As a result, the evidence before the Court indicates that any decision-making

 capacity Ms. Greene held was a matter of following prescribed procedures, and that

 it was her supervisor who had to make any substantive change to a customer’s

 project plan or timeline.14 Under the applicable legal authority, this does not

 constitute the exercise of discretion, let alone in matters of significance. See, Ale,

 269 F.3d at 686, 690 (6th Cir. 2001) (affirming decision that training officer, who

 taught employees based on inherited lesson plans that he adjusted to incorporate

 new administrative orders and also tested those employees, did not exercise

 discretion or independent judgment because job only involved following

 prescribed procedures and did not involve comparison of possible courses of

 conduct); Gallegos, 484 F.Supp.2d at 597 (holding that escrow officer did not

 exercise independent judgment where his “decisions” were simply a matter of

 following the prescribed procedures and where he had to contact a borrower or

 broker if there was a problem); Beauford v. ActionLink, LLC, 781 F.3d 396, 405

 (8th Cir. 2015) (holding that brand advocates who followed set scripts and well-

 established techniques, procedures, and standards set forth in manuals were not




 14Indeed, whether the supervisor’s decision to alter the deadlines of a given implementation
 project is a “matter of significance” is by no means apparent.
                                             41
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 42
                                                            Page
                                                               of 49
                                                                  42 PageID
                                                                     of 49 #: 581




 covered by the administrative exemption, noting that they had to seek approval

 before deviating from procedure).

       Likewise, Tyler’s position that Ms. Greene had the “discretion to make

 recommendations” to its government customers that “shaped the course and

 trajectory of any given implementation” is inconsistent with the record evidence.

 Ms. Greene declared that she “never made any recommendations to Tyler

 customers about the possibility of purchasing additional hours” (Second Greene

 Decl. ¶ 16); “the decision whether a customer would have in-person trainings or

 remote trainings was made before I was brought in on a project” (id. ¶ 9); “at no

 point in my employment did I ever recommend that a customer have me come back

 on-site for additional training” (id. ¶ 21); she “never made any recommendations

 to customers about making any changes to their payroll practices” (id. ¶ 24); she

 “cannot recall a single instance of ever making a recommendation to a customer

 about purchasing timeclocks … that would be the job of Tyler salespeople,” (id. ¶

 23); and she “never made any recommendations to customers on how to manage

 their information databases” (id. ¶ 25). Ms. Greene’s deposition also indicates that

 she never recommended to a client that they needed more training hours, and

 instead, if the client was getting low on their pre-allotted hours, she would merely

 indicate that to the project manager. (Greene Dep. p. 110:1-14.) Tyler has identified

 no instances where Ms. Greene made any recommendations to a government

 customer in contravention of her sworn testimony, let alone shown that making

 such recommendations on matters of significance was a primary duty of her job.

                                          42
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 43
                                                            Page
                                                               of 49
                                                                  43 PageID
                                                                     of 49 #: 582




 See, Beauford, 781 F.3d at 405 (noting that “almost all possess some discretion in

 their daily work, but employees qualify for the administrative exemption only

 when that discretion “is real and substantial, that is, they must be exercised with

 respect to matters of consequence.”) (internal citation omitted).

       Tyler’s cited legal authority, previously discussed, does not persuade

 otherwise, as the facts in those cases are inapposite. The plaintiff in Brooks

 testified that he had discretion to develop training materials and pedagogic

 examples without the approval or supervision of anyone at headquarters and had

 the authority to supervise another employee who assisted him in these tasks. 2019

 WL 497693 at *3. The court in Carbaugh, 2011 WL 5553724, at *22-23 found that

 the plaintiff exercised discretion in consulting with client businesses on new

 product ideas and enhancements, approving new product versions and fixes, and

 developing cost savings to increase profit revenue for customers. In Cruz v.

 Lawson Software, Inc., 764 F.Supp.2d 1050 (D. Minn. 2011), the plaintiffs testified

 to almost “nonexistent supervision,” as they did not communicate on a regular

 basis with supervisors, and also made decisions in connection with configuring

 software for specific clients, upgrading software, adding new features, developing

 the interface, converting data, and more. Id. at 1058-59, 1068.

       Finally, Tyler stresses that Plaintiff’s work was done at home or the

 customer’s site as confirmation of her independent judgment and discretion. (See

 Def. Mot. at 16) (citing Brooks, 2019 WL 497693 at *3) (noting that on multiple

 occasions, plaintiff took sick or personal time at his leisure, entertained clients in

                                          43
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 44
                                                            Page
                                                               of 49
                                                                  44 PageID
                                                                     of 49 #: 583




 the evening and took hour-long lunches which at times included alcohol in support

 of finding of exercise discretion); (citing Verkuilen, 646 F.3d at 981) (noting that

 an employee working off-site might be tempted to inflate his hours). Tyler has

 pointed to no regulation or guidance making this distinction as indicative of

 independent decision-making on matters of significance on its own, without other

 persuasive indicators of such discretion. In the increasingly technological (and

 currently, pandemic-ridden) waters in which we swim, working remotely and

 separate from other employees and supervisors is not unusual, and companies

 have developed ways to track employee time while not physically on the premises,

 as Tyler well knows. The location of Ms. Greene’s work alone is insufficient to show

 that she exercised independent judgment on matters of significance. See e.g.

 Beauford, 781 F.3d at 399-400 (finding that “brand ambassadors” whose work

 primarily involved visiting stores and teaching store employees about employer-

 backed products, maintaining displays, and speaking with customers who had

 questions about the product did not exercise discretion in matters of significance).

       As detailed thoroughly herein, Tyler has not supplied the Court with any

 concrete evidence to create a genuine fact issue on whether Ms. Greene exercised

 discretion and independent judgment in matters of significance as a primary

 function of her job as implementation consultant. Plaintiff Greene, however, has

 shown, based on the facts construed in Tyler’s favor, that she did not hold primary

 duties that included the exercise of independent judgment. For this separate



                                         44
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 45
                                                            Page
                                                               of 49
                                                                  45 PageID
                                                                     of 49 #: 584




 reason, the Court concludes that Ms. Greene is not subject to the administrative

 exemption and summary judgment for Plaintiff on this issue is warranted.

              Willfulness

       The Court now turns to the issue of willfulness. The statute of limitations for

 a claim seeking unpaid overtime wages under the FLSA is generally two years. 29

 U.S.C. § 255(a). But if the claim is one “arising out of a willful violation,” the statute

 of limitations is extended to three years. Id. “To establish that the violation of the

 [FLSA] was willful in order to extend the limitations period, the employee must

 prove by a preponderance of the evidence that his employer either knew that its

 conduct was prohibited by the statute or showed reckless disregard about whether

 it was.” Alvarez Perez v. Sanford-Orlando Kennel Club, Inc., 515 F.3d 1150, 1163

 (11th Cir. 2008) (citing McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133

 (1988)). Federal regulations define “reckless disregard as the ‘failure to make

 adequate inquiry into whether conduct is in compliance with the [FLSA].’” Id.

 (quoting 5 C.F.R. § 551.104). To succeed on a motion for summary judgment on

 this issue, Tyler “must show that no reasonable trier of fact could find that [it] acted

 without good faith.” Smith v. Ideal Towing, LLC, No. 1:16-CV-1359-TWT, 2017

 WL 5467154, at *8 (N.D. Ga. Nov. 13, 2017).

       Tyler argues that Ms. Greene “cannot meet the high standard to establish

 that Tyler acted willfully by classifying Plaintiff as exempt,” in large part because

 Tyler’s general counsel testified that the classification of implementation

 consultants was “in part based on the advice of outside legal counsel,” Mr. Paolo

                                            45
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 46
                                                            Page
                                                               of 49
                                                                  46 PageID
                                                                     of 49 #: 585




 McKeeby, who is also counsel for Tyler in this case. (Def. Mot. at 20-21) (citing

 Bailey v. Innovative Contracting Sols., Inc., No. 1:13-cv-4114-LMM, 2014 WL

 6816830, at *6 (N.D. Ga. Dec. 4, 2014) (finding no willfulness by employer in part

 because employer relied on advice of counsel regarding classification)). In

 response, Plaintiff points to evidence that Tyler “was sued for the exact same

 violation in 2008” and that “the existence of that case is strong evidence that

 Defendant was put on notice that its classification of [implementation consultants]

 was legally suspect.” (Resp. to Def. Mot. at 22-23.) Further, according to Plaintiff,

 Tyler’s “advice from outside counsel” rationale is insufficient because Tyler has no

 records regarding this advice, can provide no details regarding outside counsel’s

 (Mr. McKeeby’s) investigation in support of the advice, and Mr. McKeeby’s refusal

 to testify on this subject creates a presumption that his testimony would be

 unfavorable. (Id. at 23) (citing Jones v. Otis Elevator Co., 861 F.2d 655, 658-59

 (11th Cir. 1988) (“[I]f a party has it peculiarly within his power to produce

 witnesses whose testimony would elucidate the transaction, the fact that he does

 not do it creates the presumption that the testimony, if produced, would be

 unfavorable.”) (citing Graves v. United States, 150 U.S.118, 121 (1983)).

       “Although consultation with an attorney may help prove that an employer

 lacked willfulness, such a consultation is, by itself, insufficient to require a finding

 in favor of the employer.” Mumby v. Pure Energy Servs. (USA), Inc., 636 F.3d

 1266, 1270 (10th Cir. 2011). Further, “[t]he court's operative inquiry focuses on the

 employer's diligence in the face of a statutory obligation, not on the employer's

                                           46
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 47
                                                            Page
                                                               of 49
                                                                  47 PageID
                                                                     of 49 #: 586




 mere knowledge of relevant law.” Id. (citing McLaughlin, 486 U.S. at 134–35); see

 also, Fuentes v. CAI Int'l, Inc., 728 F. Supp. 2d 1347, 1358-59 (S.D. Fla. 2010)

 (“mere reliance on the advice of counsel is insufficient to satisfy the defendants’

 burden in proving their good faith in failing to pay overtime”) (citing Townley v.

 Floyd & Beasley Transfer Co., 1989 WL 205342, at *4 (N.D. Ala. 1989)).

       Here, Tyler has presented no evidence of what information was supplied to

 outside counsel in support of his exemption determination, no evidence of his

 investigation, and no records in connection with his review or determination. Carr

 v. AutoZoner, LLC, No. 5:15-CV-00356-AKK, 2020 WL 6827897, at *5 (N.D. Ala.

 Nov. 20, 2020) (finding that jury question existed on question of willfulness where

 defendant “has not cited any evidence regarding what information it supplied its

 attorneys or what its attorneys considered when advising [defendant] about the

 proper classification of its store managers … Thus, the evidence currently before

 the court relating to [defendant’s] reliance on the advice of counsel does not

 establish that the plaintiffs cannot prove a willful violation of the FLSA as a matter

 of law.”); see also, Ideal Towing, 2017 WL 5467154, at *8 (finding that a single

 assertion that defendant consulted with counsel “is not proof of good faith. The

 Defendants do not provide any other information about the content or nature of

 this consultation, which would be important in determining whether reliance on

 this advice was both honest and reasonable”).

       In addition, Ms. Greene has supplied evidence that Tyler was previously

 sued regarding the same issue of whether it improperly classified implementation

                                          47
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 48
                                                            Page
                                                               of 49
                                                                  48 PageID
                                                                     of 49 #: 587




 consultants as administratively exempt under the FLSA. See Patty Beall et al. v.

 Tyler Technologies, Inc., and EDP Enterprises, Inc., No. 2:08-cv-422 TJW (E.D.

 Tex. 2008). Plaintiff also emphasizes that Tyler settled this case after full summary

 judgment briefing but before the court ruled. (Resp. to Def. Mot. at 22-23.) Tyler

 paints this past lawsuit as entirely irrelevant, citing Sullivan v. PJ United, Inc., 362

 F. Supp. 3d 1139, 1175 (N.D. Ala. 2018), opinion vacated in part on

 reconsideration (Aug. 7, 2018) (explaining that defendant’s settlement, in a

 different judicial district did not have any bearing on whether defendants willfully

 violated the FLSA through their vehicle reimbursement methodology). But other

 courts have determined that prior settlements are relevant to the willfulness

 determination. See e.g., Seward v. Midwest Commc'n Servs., Inc., No.

 020CV00093 JRTKMM, 2020 WL 8256362, at *1 (D. Minn. Dec. 15, 2020)

 (“Prior lawsuits, proceedings, and other such events in which [defendant] was

 previously involved, if any, would not be made less relevant to the issues

 of willfulness or good faith by the fact that they occurred in other jurisdictions, as

 the FLSA is a statute of nationwide application.”); Sims v. Event Operations Grp.,

 Inc., No. 2:17-CV-01489-JHE, 2019 WL 1301959, at *5 (N.D. Ala. Mar. 21, 2019)

 (finding that defendants’ objective reasonableness in relying on their policies is

 undermined by a motion for approval of a settlement agreement in a prior FLSA

 lawsuit and finding that defendants had not shown good faith).

       Taking all of the relevant facts into consideration, the Court concludes that

 there is a material question of fact as to whether Tyler knew that its conduct was

                                           48
Case 4:21-cv-00607-ALM
         Case 1:19-cv-01338-AT
                         Document
                               Document
                                  29-1 Filed
                                        82 09/07/22
                                             Filed 03/16/21
                                                       Page 49
                                                            Page
                                                               of 49
                                                                  49 PageID
                                                                     of 49 #: 588




 prohibited by the FLSA or showed reckless disregard about whether it was.

 Defendant’s request for summary judgment as to willfulness is DENIED.

       Conclusion

       In sum, Defendant has not shown that Ms. Greene was an exempt employee

 under the administrative exemption and fact questions preclude summary

 judgment on the issue of willfulness. Thus, Tyler’s Motion for Summary Judgment

 [Doc. 56] is DENIED. Plaintiff has established that, under the facts of this case,

 construed in the light most favorable to Tyler, Ms. Greene was nonexempt under

 the applicable legal authority. Plaintiff has also established that Tyler was a

 successor in interest of ExecuTime. Therefore, her Partial Motion for Summary

 Judgment [Doc. 57] is GRANTED. The Court ORDERS AND REFERS this

 case to mediation with the next available magistrate judge on the

 rotation wheel. Mediation shall be completed by April 30, 2021. The Parties

 shall notify the Court of the status of the case within 5 days of the conclusion of

 mediation.   If a settlement agreement is not reached, the Parties’ proposed

 Consolidated Pretrial Order shall be due 30 days after the mediation.



       IT IS SO ORDERED this 16th day of March 2021.



                                       ____________________________
                                       Honorable Amy Totenberg
                                       United States District Judge




                                         49
